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 January 4, 2025

 To:
 The Honorable David J. Hale
 United States District Judge for the Western District of Kentucky
 601 W. Broadway
 Louisville, KY 40202

 From:
 Russ Greenleaf
 Project Manager
 Transit Authority of River City (TARC)
 (acquaintance who has known Joshua White for over seven years)

 Louisville, KY 402



 To Whom It May Concern:

 My name is Russ Greenleaf. I am a Project Manager at the Transit Authority of River City (TARC).
 I have known Joshua White for over seven years.

 I have known Josh as a conscientious person who routinely goes out of his way to make the world a
 better place. He is very civic-minded and has done a tremendous amount of volunteer work in the
 Highlands-Douglass neighborhood. Josh has earned great respect from many people for the amount of
 time and energy he has devoted to organizing and managing the planting of trees in the neighborhood.

 Josh has a deep moral commitment to caring for the natural environment. I consider him an ethical
 person who strives to do the right thing more than most people I have met. I know him as a model
 citizen that people in the neighborhood have long valued and appreciated.

 Many good people have experienced a lapse in judgement and done something without thinking enough
 about the potential negative consequences. Josh regrets his mistake and is deeply sorry. He has suffered
 enormous negative consequences and has learned a very painful lesson.

 It would be a loss to this community if we were deprived of Josh’s talent and energy and commitment to
 making Louisville a better place. It would be a loss to his wife if their happy marriage were disrupted by a
 severe sentence.

 I thank the court for taking all of this into consideration. I ask the court to be lenient in sentencing and
 choose the minimum probationary period.

 Please call or email me if I can be of assistance.

 Best Regards,



 Russ Greenleaf
